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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

                                                )   Civil Action No.17-CV-1331 (WHP)
MOZA,LLC                                        )
                                                )
               Plaintiff,                       )   SUPPLEMENT TO JOINT PRE-TRIAL
                                                )   ORDER ON BEHALF OF DEFENDANTS
               -v-                              )   ULTRA FRESH, LLC AND MICHAEL
                                                )   FELIX
TUMI PRODUCE INTERNATIONAL                      )
CORP., CATHERINE BRACHO,                        )
WILLIAM BRACHO, ULTRA FRESH,                    )
LLC, MICHAEL FELIX, and,                        )
WILLIAM HIDALGO                                 )
                                                )
               Defendants.
~~~~~=--"-======-'----~~~~~-
                                                )


        1.     The full caption of this action is shown above ..

       2.      As to Plaintiffs assertions of claims which do not need to be tried in iJ5b xi and

xii of the proposed Joint Trial Order (Doc. 116 at p. 6), that Ultra Fresh, LLC ("Ultra Fresh") is

owned by Michael Felix ("Felix") and that the PACA license obtained by Ultra Fresh is

inaccurate since it fails to Identity the owner of Ultra Fresh as Michael Felix, Felix and Ultra

Fresh contend that Felix is not the owner of Ultra Fresh and that the PACA license is accurate.

       3.      In addition to joining the contentions made by defendant Tumi in iJ5c of the Joint

Trial Order, Felix and Ultra Fresh would add a subparagraph 5d as follows:

       d. The defendants, Felix and Ultra Fresh, contend:

               i. That defendant Felix is not personally liable as he was not an owner, director,

               or officer of defendant Tumi, was not a manager of Tumi, and did not control

               Tumi's P ACA trust assets.

               ii. That Ultra Fresh is liable for Tumi's obligations to plaintiff Moza LLC

               ("Moza").
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       4.      As to if8 of the Joint Trial Order (Doc. 116 p.6), Felix and Ultra Fresh would add

that they will call Catherine Bracho, William Bracho, and Michael Felix to testify regarding the

defenses set forth in the proposed addition of if5d to the Joint Trial Order and set forth in if3 of

this supplement, above.

       5.      As to Defendants list of documents in ifl l of the Joint Trial Order, Felix and Ultra

Fresh would note that Exhibit AA appears to have a typo in that the Bates stamp range appears to

be 0094-0098 and Exhibit BB apparently consists of 3 pages, not 19 pages. In addition, out of an

abundance of caution Felix and Ultra Fresh would add the following exhibits even though they

appear to be on the plaintiffs exhibit list (plaintiff has not provided counsel for Felix and Ultra

Fresh any of the documents on plaintiffs exhibit list):

       cc.     Exhibit CC consisting of 3 pages being a USDA government record regarding the
               P ACA license held by Ultra Fresh.

       dd.     Exhibit DD consisting of 2 pages being a New York State Department of State
               document providing Entity Information pertaining to Ultra Fresh, LLC.

       ee.     Exhibit EE consisting of2 pages being a New York State Department of State
               document providing Entity Information pertaining to Tumi Produce International
               Corp.

Dated: March 28, 2019

                                               Rabner Baumgart Ben-Asher & Nirenberg, P.C.
                                               Attorneys for Defendants Ultra Fresh, LLC and
                                               Michael Felix

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SO ORDERED:


William H. Pauley, III                         Dated: March ___ , 2019
Senior District Judge
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